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                     UNITED STATES COURT OF APPEALS
                        FOR THE ELEVENTH CIRCUIT
                          ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                        56 Forsyth Street, N.W.
                                        Atlanta, Georgia 30303

David J. Smith                                                                For rules and forms visit
Clerk of Court                                                                www.ca11.uscourts.gov


                                    September 28, 2023

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Case Style: Donald Trump, et al v. Hillary Clinton, et al
District Court Docket No: 2:22-cv-14102-DMM

                                CIVIL DOCKETING NOTICE

The above-referenced appeal has been docketed in this Court. All documents filed in this appeal
must include the Case Style and Appeal Number shown above.

Appellant Requirements
Unless the following requirements have already been satisfied, within 14 days of the date of
this notice the appellant MUST:

   1. Pay to the District Court the Filing Fee OR File a Motion to Proceed In Forma
      Pauperis (IFP) in the district court. See FRAP 3(e), FRAP 24.

       If the filing fee is not paid and a motion to proceed IFP has not been filed in the
       district court within 14 days of the date of this notice, this appeal will be
       dismissed without further notice pursuant to 11th Cir. R. 42-1(b).

       If the district court has denied the appellant IFP status on appeal, the appellant
       has 30 days from the date of the district court's order to file an IFP motion in
       this Court. See FRAP 24(a)(5).

   2. File in this Court AND in the district court a Transcript Order Form OR file a certificate
      in this Court stating no transcripts will be ordered. See FRAP 10(b)(1), 11th Cir. R. 10-
      1. (Not applicable in certain bankruptcy appeals. See FRAP 6(b)).

       If no transcripts are ordered, appellant's brief is due 40 days after 09/28/2023,
       except as otherwise provided by the rules. See 11th Cir. Rules 12-1 and 31-1.

   3. File a Certificate of Interested Persons and Corporate Disclosure Statement (CIP). See
      11th Cir. R. 26-1(a)(1).

   4. Complete the Web-Based CIP (attorneys only). See 11th Cir. R. 26.1-1(b).

   5. File a Civil Appeal Statement (attorneys only). See 11th Cir. R. 33-1(a)(3).

Mediation
If a Civil Appeal Statement is required to be filed and the appeal is fully counseled on all sides,
your appeal will be reviewed and considered for mediation. Mediation services are at no cost to
the parties. If no Civil Appeal Statement is required or you or any party to the appeal is self-
represented or pro se then the appeal is not eligible for mediation. See 11th Cir. R. 33-1.
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Appellee Requirements
Unless the following requirements have already been satisfied, within 28 days of the date of
this notice, all appellees participating in this appeal MUST:

   1. File a CIP or a notice. See 11th Cir. R. 26.1-1(a)(3).

   2. Complete the Web-Based CIP (attorneys only). See 11th Cir. R. 26.1-1(b).

Attorney Participation
All attorneys (except court-appointed attorneys) who wish to participate in this appeal must file
an Appearance of Counsel Form within 14 days of the date of this notice. See 11th Cir. R. 46-
6(b). Please also see FRAP 46 and the corresponding circuit rules.

All counsel must file documents electronically using the Electronic Case Files ("ECF") system,
unless exempted for good cause. Although not required, non-incarcerated pro se parties are
permitted to use the ECF system by registering for an account at www.pacer.gov. Information
and training materials related to electronic filing are available on the Court's website.

Obligation to Notify Court of Change of Addresses
Each pro se party and attorney has a continuing obligation to notify this Court of any changes to
the party’s or attorney’s addresses during the pendency of the case. See 11th Cir. R. 25-7.

Additional Information
Rules, forms, and additional information, including a handbook for pro se litigants, can be
found at www.ca11.uscourts.gov.

Clerk's Office Phone Numbers
General Information: 404-335-6100          Attorney Admissions:         404-335-6122
Case Administration: 404-335-6135          Capital Cases:               404-335-6200
CM/ECF Help Desk: 404-335-6125             Cases Set for Oral Argument: 404-335-6141



                                                                    CIVIL - Notice of Docketing
